        Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF IOWA
                                    EASTERN DIVISION


JULIE A. SU,
ACTING SECRETARY OF LABOR,                              Civ. Action No.: 3:23-cv-00008-
UNITED STATES DEPARTMENT                                SHL-SBJ
OF LABOR,
                   Plaintiff,
     v.                                                 CONSENT ORDER AND JUDGMENT

WOODS CONSTRUCTION AND
DEVELOPMENT, INC., d/b/a WOODS
ESTATES, d/b/a WOODS CONSTRUCTION,
and SETH WOODS, individually,

                             Defendants.


                            CONSENT ORDER AND JUDGMENT

        Plaintiff, Julie A. Su, Acting Secretary of Labor, United States Department of Labor

(“Secretary”), has filed a Complaint under the Fair Labor Standards Act of 1938 as amended (29

U.S.C. § 201, et seq.) (“FLSA”), against Defendants Woods Construction and Development, Inc.,

d/b/a Woods Estates, d/b/a Woods Construction, and Seth Woods, individually, (collectively

“Defendants”) have appeared by counsel and agree to the entry of this Consent Order and

Judgment without contest.

        Defendants admit and the Court finds Defendants are engaged in related activities

performed through unified operation or common control for a common business purpose and are

an “enterprise” under 29 U.S.C. § 203(r) of the FLSA.

        Defendants admit and the Court finds Defendants are an enterprise engaged in commerce

or in the production of goods for commerce within the meaning of 29 U.S.C. § 203(1)(A) of the

FLSA.



                                              1
       Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 2 of 6




       The Secretary of Labor alleges and the Court finds Defendants are employers as defined in

29 U.S.C. § 203(d) of the FLSA.

       Upon motion of attorneys for the Secretary and Defendants and for cause shown, it is:

       ORDERED, ADJUDGED, AND DECREED, pursuant to Section 17 of the FLSA that

Defendants, their officers, agents, servants, and all persons acting or claiming to act on their behalf

and interest be, and they hereby are, permanently enjoined and restrained from violating the

provisions of Sections 7 , 11(c), 15(a)(2), 15(a)(3), and 15(a)(5) of the FLSA, in any of the

following manners:

       1.      Defendants shall not, contrary to 29 U.S.C. §§ 207 and 215(a)(2), employ any

individuals – and any future employees – including, but not limited to, any of their employees

working at Woods Construction and Development, Inc., d/b/a Woods Estates, d/b/a Woods

Construction, or at any business location owned, operated, and/or controlled by Defendants, and

at any other business location at which they perform work, in any workweek when they are

engaged in commerce or employed in an enterprise engaged in commerce, within the meaning of

the FLSA, for workweeks longer than forty hours, unless said individuals receive compensation

for their work in excess of forty hours at a rate equivalent to one and one-half times the regular

rate at which they are compensated.

       2.      Defendants shall make, keep, and preserve adequate records of their employees, if

any, and of the wages, hours, and other conditions and practices of employment maintained by

them including, but not limited to, any employees working at Woods Construction and

Development, Inc., d/b/a Woods Estates, d/b/a Woods Construction, or at any business location

owned, operated, and/or controlled by Defendants, and at any other business location at which they

perform work, as prescribed by the Regulations issued pursuant to 29 U.S.C. §§ 211(c) and



                                                  2
       Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 3 of 6




215(a)(5) and found at 29 C.F.R. Part 516. Defendants shall make such records available at all

reasonable times to representatives of the Secretary.

       3.      Pursuant to 29 U.S.C. § 215(a)(3), Defendants shall not discharge or take any

retaliatory action against any individuals, whether or not directly employed by Defendants,

because the individual engages in any of the following activities:

       a.      Discloses, or threatens to disclose, to a supervisor or to a public agency, any

   activity, policy, or practice of the Defendants or another employer, with whom there is a

   business relationship, that the employee reasonably believes is in violation of the FLSA, or a

   rule or regulation promulgated pursuant to the FLSA;

       b.      Provides information to, or testifies before, any public agency or entity conducting

   an investigation, hearing or inquiry into any alleged violation of the FLSA, or a rule or

   regulation promulgated pursuant to the FLSA, by the Defendants or another employer with

   whom there is a business relationship;

       c.      Objects to, or refuses to participate in any activity, policy or practice which the

   employee reasonably believes is in violation of the FLSA, or a rule or regulation promulgated

   pursuant to the FLSA.



       FURTHER, JUDGMENT IS HEREBY ENTERED, pursuant to Section 16(c) of the Act,

in favor of the Secretary and against Defendants in the total amount of $128,000.00.

       4.      The Secretary shall recover from Defendants the sum of $128,000.00 in unpaid

overtime compensation covering the period from April 6, 2020, through April 3, 2022, for

Defendants’ current and former employees whose names are listed in the Exhibit A of the

Complaint.



                                                 3
   Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 4 of 6




   a.      At the time of Defendants’ execution of this Consent Order and Judgment,

Defendants shall deliver payment in the amount of $128,000.00 by ACH transfer, credit card,

debit card, or digital wallet at https://www.pay.gov/public/form/start/77692637 or

www.pay.gov and searching “WHD Back Wage Payment – Midwest Region”.

   b.      Defendants shall also furnish to the Secretary the full name, last-known address,

last-known phone number, and social security number for each employee named in Exhibit A

of the Complaint.

   c.      Upon receipt of full payment from Defendants, representatives of the Secretary

shall distribute such amounts, less appropriate deductions for federal income withholding taxes

and the individual’s share of the social security (“FICA”) tax, to the individuals or their legal

representative as their interests may appear, in accordance with the provisions of Section 16(c)

of the FLSA. Defendants remain responsible for FICA arising from or related to the back wages

distributed by the Secretary.

   d.      Neither Defendants nor anyone on their behalf shall directly or indirectly solicit or

accept the return or refusal of any sums paid under this Consent Order and Judgment. Any

such amount shall be immediately paid to the Secretary for deposit as above, and Defendants

shall have no further obligations with respect to such returned monies.

   e.      Any monies not disbursed by the Department of Labor after three (3) years from

the date of payment by Defendants, because of the inability to locate the proper persons or

because of their refusal to accept payment, shall be deposited into the Treasury of the United

States as miscellaneous receipts, pursuant to Section 16(c) of the FLSA.

   f.      The provisions of this Consent Order and Judgment shall not in any way affect any

legal right of any individual not named on Exhibit A to the Complaint, nor shall the provisions



                                             4
       Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 5 of 6




   in any way affect any legal right of any individual named on Exhibit A to the Complaint to file

   any action against Defendants for any violations alleged to have occurred outside the relevant

   period.

       5.      By entering into this Consent Order and Judgment, the Secretary does not waive

their right to conduct future investigations of Defendants under the provisions of the FLSA and to

take appropriate enforcement action, including assessment of civil money penalties pursuant to

29 U.S.C. § 216(e), with respect to any violations disclosed by such investigations.

       It is FURTHER ORDERED that each Party shall bear their own costs, fees and other

expenses incurred by such Party in connection with any stage of this proceeding, but not limited

to, attorney fees which may be available under the Equal Access to Justice Act, as amended.



         Dated this 24th day of August, 2023.

                                                           ___________________________________
                                                           Stephen H. Locher
                                                           UNITED STATES DISTRICT JUDGE




                                                5
Case 3:23-cv-00008-SHL-SBJ Document 11 Filed 08/24/23 Page 6 of 6
